                     UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION-DETROIT

IN THE MATTER OF:                             Case No. 21-42581
                                              Chapter 7
Moose M. Scheib,                              Hon. Mark A. Randon
     Debtor

and

KELLY SILVERA JARRETT,
    Plaintiff,
v.

MOOSE SCHIEB, a/k/a MUSTAPHA SCHIEB
a/k/a MUSTAPHA CHEAIB,
      Defendant.

                             CERTIFICATE OF SERVICE
      I certify that on August 5, 2022 I electronically filed the Motion of Kelly Jarrett
to Adjourn Adversary Trial and this Certificate of Service with the Clerk of the Court
using the ECF systems which will send notification of such filing to all ECF
participants in this case.
      I further certify that on August 8, 2022, I served, by United States Mail, the
Motion of Kelly Jarrett to Adjourn Adversary Trial and this Certificate of Service, to
the following non-ECF participants:
                                  Mr. Moose Scheib
                                15 Bradford Ct Unit 27
                                 Dearborn, MI 48126

By means of first-class mail.

                                       Respectfully submitted,
                                       JOHNSON LAW, PLC

                              By: /s/ Paul F. Doherty
                                 Paul F. Doherty (P36579)
                                 535 Griswold St., Ste 2600, Detroit, MI 48226
                                 (313)Entered
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Date: August 8, 2022             pdoherty@venjohnsonlaw.com
